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                                            No. 23-2295



                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                    GROUP HOME ON GIBSON ISLAND, LLC, ET AL.,

                                                      Plaintiffs-Appellants
                                                 v.

                             GIBSON ISLAND CORPORATION,

                                                      Defendant-Appellee


               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


          BRIEF FOR THE UNITED STATES AS AMICUS CURIAE SUPPORTING
                 PLAINTIFFS-APPELLANTS AND URGING REVERSAL


        DAMON Y. SMITH                                KRISTEN CLARKE
         General Counsel                               Assistant Attorney General

        SASHA M. SAMBERG-CHAMPION                     BONNIE I. ROBIN-VERGEER
         Deputy General Counsel for                   TERESA KWONG
         Enforcement and Fair Housing                  Attorneys
                                                       U.S. Department of Justice
        JOSHUA R. GILLERMAN                            Civil Rights Division
        OGO O. ORIZU                                   Appellate Section
         Attorneys                                     Ben Franklin Station
         U.S. Department of Housing                    P.O. Box 14403
         and Urban Development                         Washington, D.C. 20044-4403
         Office of the General Counsel                 (202) 514-4757
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                            INTEREST OF THE UNITED STATES

              The United States has a substantial interest in the resolution of this appeal,

        which concerns the proper application of the reasonable-accommodation provision

        in the Fair Housing Act (FHA), 42 U.S.C. 3604(f)(3)(B). The Department of

        Justice and the Department of Housing and Urban Development (HUD) share

        enforcement authority under the FHA. See 42 U.S.C. 3610, 3612, 3614. HUD has

        commenced administrative proceedings against housing providers who fail to

        reasonably accommodate the needs of residents with disabilities. See, e.g., Astralis

        Condo. Ass’n v. HUD, 620 F.3d 62 (1st Cir. 2010). And the United States has filed

        amicus briefs in appeals involving the FHA’s reasonable-accommodation

        provision. See, e.g., Women’s Elevated Sober Living L.L.C. v. City of Plano, 86

        F.4th 1108 (5th Cir. 2023); Klossner v. IADU Table Mound MHP, LLC, 65 F.4th

        349 (8th Cir.), cert. denied, 144 S. Ct. 328 (2023); Valencia v. City of Springfield,

        883 F.3d 959 (7th Cir. 2018).

              The United States files this brief under Federal Rule of Appellate Procedure

        29(a)(2).

                                 STATEMENT OF THE ISSUES

              The FHA, 42 U.S.C. 3604(f)(3)(B), provides that prohibited

        “discrimination” includes “a refusal to make reasonable accommodations in rules,

        policies, practices, or services, when such accommodations may be necessary to
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        afford [a person with a disability] equal opportunity to use and enjoy a dwelling.”

        Plaintiffs Group Home on Gibson Island and Assisted Living Well Compassionate

        Care 2 seek to operate a home for senior citizens with disabilities. They submitted

        a request for a reasonable accommodation to defendant Gibson Island Corporation

        (GIC), a corporation that functions as a homeowners association, to waive a

        restrictive covenant that prohibits single-family homes from being used for a

        business purpose. GIC made approval of the accommodation request contingent

        on plaintiffs’ acceptance of certain conditions, and the parties failed to reach

        agreement. Plaintiffs allege, among other claims, that GIC’s refusal to provide a

        reasonable accommodation violated the FHA.

              The United States addresses the following questions:

              1. Whether the district court erred in holding that plaintiffs cannot prevail

        on their reasonable-accommodation claim because plaintiffs failed to show that

        removal of GIC’s conditions for granting their requested accommodation was

        “necessary” to provide prospective residents with disabilities an equal opportunity

        to use and enjoy the group home.

              2. Whether the district court erred in concluding that GIC did not refuse

        plaintiffs’ request for a reasonable accommodation when it made approval of the

        request contingent on plaintiffs’ acceptance of conditions imposed by GIC that

        were not agreeable to plaintiffs.

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                                       STATEMENT OF THE CASE

                  A.    Background

                  Plaintiffs Group Home on Gibson Island (Group Home) and Assisted Living

        Well Compassionate Care 2 are companies established by Craig Lussi. Doc. 110,

        at 3.1 Lussi bought a house (“Banbury Property”) on Gibson Island, Maryland with

        the intent to convert the single-family home into a home for nine senior citizens

        with disabilities who need assistance with daily activities. Id. at 5. Defendant

        Gibson Island Corporation (GIC) is the homeowners association that administers

        the private community on the island. Id. at 3. Island homes are subject to two

        restrictive covenants relevant here: (1) the Business Purpose Covenant requires

        homes to be used for private residential purposes only, unless GIC gives prior

        approval for use for business purposes, and (2) the Exterior Alterations Covenant

        prohibits exterior improvements to island homes without prior GIC approval. Id.

        at 3-4.

                  After obtaining a county building permit, plaintiffs started construction to

        convert the Banbury Property from a five-bedroom house into a nine-bedroom




                “Doc. __, at __” refers to the docket entry and ECF page number of
                  1

        documents filed in Group Home on Gibson Island, LLC v. Gibson Island Corp.,
        No. 20-cv-891 (D. Md.), the case now on appeal. “GIC Doc. __, at __” refers to
        the docket entry and ECF page number of documents filed in Gibson Island Corp.
        v. Group Home on Gibson Island, LLC, No. 20-cv-842 (D. Md.).

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        assisted living facility, without seeking GIC’s approval for the construction work

        or to operate a business at the house. Doc. 110, at 5. When the construction

        continued even after GIC notified plaintiffs that they were violating the two

        covenants, GIC filed a declaratory judgment action against Group Home and Lussi

        in district court seeking an order directing plaintiffs to halt the construction and

        provide information regarding the home for GIC’s consideration. Id. at 6; see also

        GIC Doc. 30, at 7. Plaintiffs, in turn, filed this action seeking, among other things,

        to stop GIC from enforcing the covenants under the FHA. Doc. 110, at 6. The

        district court consolidated the two actions and subsequently granted summary

        judgment to GIC in its case. GIC Doc. 30, at 7-8, 9-18. As relevant here, the court

        held that Group Home’s discrimination claims under the FHA were not ripe until it

        requested—and gave GIC an opportunity to grant—an exception to the “business

        purpose” restriction as a reasonable accommodation. Id. at 18.

              Afterward, on June 10, 2020, plaintiffs requested that GIC grant a

        “reasonable accommodation in the form of a waiver or modification of the

        ‘business purpose’ restriction . . . to the extent necessary to permit them to operate

        an assisted living group home for nine seniors with disabilities at the Banbury

        Property.” Doc. 71-34, at 4. The request described plaintiffs’ experience in

        operating group homes for individuals with disabilities and explained that waiver

        here was reasonable and necessary since no similar group home existed on the

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        island to meet the needs of seniors with disabilities; thus, without a waiver of the

        restriction, seniors with disabilities “would have no equal opportunity to use and

        enjoy ‘housing of their choice’ on Gibson Island.” Id. at 4-5. The request further

        addressed why plaintiffs’ operation of a group home at the Banbury Property

        would not impose “undue financial and administrative burdens” or a “fundamental

        alteration” on GIC. Id. at 5-6.

              The parties negotiated over the accommodation request, culminating in GIC

        providing plaintiffs a proposed Memorandum of Understanding (MOU) in March

        2021 that represented GIC’s final offer. The proposed MOU imposed 22

        conditions on granting plaintiffs’ request. Doc. 71-68, at 4-9. Some conditions

        required plaintiffs to comply with state and county laws, while others required, for

        example, that “any future claims with respect to Plaintiffs’ reasonable

        accommodation be ‘subject to mandatory and binding arbitration,’ including a

        requirement that each side deposit $100,000 in escrow to cover any future award of

        attorneys’ fees and damages.” Doc. 110, at 9; see also Doc. 71-68, at 7-

        9. According to GIC, the conditions were “necessary to protect its legitimate

        interests,” and their omission would “impose undue and unacceptable

        administrative and financial burdens” on GIC. Doc. 71-68, at 3. GIC told

        plaintiffs that it would approve their accommodation request “upon [plaintiffs’]




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        acceptance of the terms of the attached MOU” and that the MOU “represents the

        terms [that GIC] will accept, without change or modification.” Id. at 2.

              Plaintiffs, however, did not accept the MOU as is. Instead, plaintiffs

        proposed changes (Doc. 71-69), to which GIC responded that it would approve

        plaintiffs’ requested accommodation provided that they sign the MOU “without

        alteration.” Doc. 71-70, at 5; see also id. at 6-11 (restating MOU). After plaintiffs

        refused to sign (Doc. 71-72), GIC passed a resolution to end further discussions as

        futile. Doc. 110, at 9; Doc. 71-73.2 The resolution stated that plaintiffs had

        rejected GIC’s conditions, without which the requested accommodation would

        have imposed “undue administrative and financial burdens” on GIC. Doc. 71-73,

        at 3. As a result, plaintiffs amended their complaint to add allegations relating to




              2
                 Only four conditions in the MOU were in dispute by the time GIC ended
        negotiations: (1) the Guarantor Provision, which identified which entities and
        persons were subject to the MOU; (2) the Dispute Resolution Provision, in which
        GIC declined to include plaintiffs’ requested 60-day notice-and-cure period; (3) the
        Septic Provision, which required annual certification and daily monitoring of the
        septic system for the Banbury Property; and (4) the Arbitration Escrow Provision,
        which required that all future disputes be subject to mandatory arbitration and that
        the parties each deposit $100,000 in an escrow account at the commencement of
        arbitration. See Doc. 110, at 8-9, 18; see also Doc. 47, at 1; Doc. 71-69, at 9-15;
        Doc. 71-70, at 3-11.

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        GIC’s refusal to grant a reasonable accommodation in violation of the FHA, 42

        U.S.C. 3604(f)(3)(B). See Doc. 47, at 34. 3

              B.     District Court Decision

              The district court granted summary judgment to GIC. With respect to

        plaintiffs’ reasonable-accommodation claim, the court stated that plaintiffs had the

        burden to show that the requested accommodation was “(1) reasonable and

        (2) necessary (3) to afford handicapped persons equal opportunity to use and enjoy

        housing.” Doc. 110, at 17 (citations omitted).

              The district court did not consider whether plaintiffs’ requested

        accommodation was reasonable but moved to the “necessity” element. Doc. 110,

        at 17-18. The court explained that an accommodation is “necessary” under the

        FHA “if there is a ‘direct linkage between the proposed accommodation and the

        equal opportunity to be provided to the handicapped person.’” Id. at 17 (quoting

        Bryant Woods Inn, Inc. v. Howard Cnty., 124 F.3d 597, 604 (4th Cir. 1997)

        (Bryant Woods)). As the court noted, this Court has stated that the “necessity”

        element “has attributes of a causation requirement,” and so, “if the proposed

        accommodation provides no direct amelioration of a disability’s effect, it cannot be

        said to be ‘necessary.’” Ibid. (quoting Bryant Woods, 124 F.3d at 604;


              3
                 The United States filed a Statement of Interest, addressing, inter alia, the
        legal standards for evaluating GIC’s conditions. Doc. 94, at 5-15.

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        Vorchheimer v. Philadelphian Owners Ass’n, 903 F.3d 100, 105-111 (3d Cir.

        2018)).

              But the district court never examined whether plaintiffs’ “proposed

        accommodation”—an exception to the business-purpose restriction—was

        necessary to permit a home for seniors with disabilities to operate. Instead, the

        court focused on the four disputed requirements in the MOU (the Guarantor,

        Dispute Resolution, Septic, and Arbitration Escrow Provisions), which GIC

        demanded as conditions for granting the accommodation. Doc. 110, at 17-18. The

        court held that “to prevail on their reasonable accommodation claim,” plaintiffs

        were required to show “that the removal of the four conditions that they challenge

        in this case is necessary to provide their disabled residents with an equal

        opportunity to housing.” Id. at 17 (emphasis added). The court concluded that

        plaintiffs could not make such a showing because they presented no evidence that

        removing these conditions was “necessary for them to provide housing to disabled

        residents.” Id. at 18.

              Although the district court expressly recognized that the disputed conditions

        did not actually “address Plaintiffs’ reasonable accommodation request” but

        instead addressed other concerns of GIC (Doc. 110, at 18-22), it still held that

        plaintiffs had to show that removal of the disputed conditions was necessary to

        “ameliorate the effect” of the disability on the achievement of equal housing

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        opportunity. Id. at 21 (brackets and emphasis omitted) (quoting Vorchheimer, 903

        F.3d at 110). Because plaintiffs failed to do so, the court concluded that they

        “simply cannot satisfy the ‘necessary’ element of their reasonable accommodation

        claim.” Id. at 23 (citing Bryant Woods, 124 F.3d at 604-605).

              The district court further held that GIC’s insistence on including these

        conditions in the MOU did not constitute a “refusal” of plaintiffs’ accommodation

        request by GIC. Doc. 110, at 18. According to the court, there also was “no

        evidence” to show a “constructive denial” of plaintiffs’ accommodation request

        “because Plaintiffs do not claim that the four disputed conditions” prevented them

        from “operating the Banbury Property, or present an insurmountable burden.” Id.

        at 23 n.5.

                                     SUMMARY OF ARGUMENT

              This Court should reverse the district court’s grant of summary judgment to

        GIC on plaintiffs’ reasonable-accommodation claim. The district court committed

        several reversible errors.

              First, the district court misapplied the legal standards for evaluating

        reasonable-accommodation claims under the FHA, 42 U.S.C. 3604(f)(3)(B). To

        prevail on their reasonable-accommodation claim, plaintiffs must prove that their

        requested accommodation was “reasonable” and “necessary” to provide

        prospective residents with disabilities an “equal opportunity to use and enjoy


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        housing” of their choice. See Bryant Woods Inn, Inc. v. Howard Cnty., 124 F.3d

        597, 603 (4th Cir. 1997) (citing 42 U.S.C. 3604(f)(3)).

              Here, the district court failed to consider in the first instance whether

        plaintiffs’ requested accommodation—an exception to the business-purpose

        restriction—was a necessary and reasonable accommodation. Instead, the court

        required plaintiffs to demonstrate that removing GIC’s conditions on the requested

        accommodation was “necessary” for the prospective residents to have an equal

        opportunity to use and enjoy the housing. This analysis was fundamentally flawed.

        It effectively would allow a housing provider to impose any condition unrelated to

        alleviating the effects of an individual’s disability in exchange for approval of the

        accommodation, because removal of such conditions often will not be “necessary”

        to enable that individual to occupy their housing of choice.

              The district court should have considered GIC’s conditions—if at all—in the

        course of assessing the reasonableness—not the necessity—of plaintiffs’ requested

        accommodation. A requested accommodation is not “reasonable” if it would

        impose undue financial and administrative burdens on the defendant, while an

        accommodation is not “necessary” if it is not essential to providing an individual

        with a disability with an equal opportunity to use and enjoy a dwelling. Where, as

        here, a homeowners association seeks to impose conditions on, or offers an

        alternative to, a requested accommodation, not as a way to address the effects of

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        residents’ disabilities but to alleviate alleged undue financial and administrative

        burdens that granting the accommodation would impose on the association, a court

        should consider the association’s conditions as part of its reasonableness analysis.

              Under the appropriate legal framework, the district court, on remand, should

        determine first whether plaintiffs’ requested accommodation is necessary and at

        least reasonable on its face. If yes, then the court should place on GIC the burden

        of producing evidence demonstrating that the requested accommodation is

        unreasonable—because, for example, the request would impose an undue burden

        without additional conditions—while leaving the overall burden of persuasion on

        plaintiffs to show necessity and reasonableness. If the court finds that the

        accommodation would impose undue financial and administrative burdens on GIC,

        the court should determine if GIC’s conditions themselves are reasonable and

        would afford equal housing opportunity.

              Lastly, the district court erred in concluding that GIC had not “refused” to

        provide plaintiffs’ requested accommodation, based on its reasoning that plaintiffs

        failed to show that GIC’s proposed conditions prevented them from operating the

        group home or presented an “insurmountable burden.” Quite simply, GIC’s refusal

        to grant the requested accommodation once plaintiffs rejected its take-it-or-leave-it

        conditions was a denial of the accommodation request.




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              Accordingly, the Court should reverse and remand for further proceedings

        on plaintiffs-appellants’ reasonable-accommodation claim.

                                           ARGUMENT

        I.    The district court misapplied the legal standards for determining
              whether plaintiffs satisfied their burden to show that their requested
              accommodation was necessary and reasonable.

              The district court should have considered whether plaintiffs’ requested

        accommodation—an exception to GIC’s business-purpose restriction—was

        reasonable. Whether the request would have imposed an undue financial or

        administrative burden on GIC was relevant to that inquiry. By contrast, the court’s

        analysis—requiring plaintiffs to show that the removal of the four disputed

        conditions was “necessary” to provide prospective residents with disabilities an

        equal opportunity to enjoy housing of their choice—effectively allowed GIC to

        impose any condition unrelated to the residents’ disabilities as the cost of obtaining

        an accommodation. Additionally, the district court compounded its error by

        concluding that GIC had not even refused or constructively denied plaintiffs’

        requested accommodation. This Court therefore should reverse the grant of

        summary judgment for GIC as to plaintiffs’ reasonable-accommodation claim.




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              A.     In this Circuit, a plaintiff seeking a reasonable accommodation
                     under the FHA must show that the requested accommodation is
                     necessary and reasonable.

              The FHA makes it unlawful “[t]o discriminate in the sale or rental, or to

        otherwise make unavailable or deny, a dwelling to any buyer or renter because of a

        handicap of . . . a person residing in or intending to reside in that dwelling.” 42

        U.S.C. 3604(f)(1)(B). The statute similarly prohibits discrimination in the “terms,

        conditions, or privileges of sale or rental of a dwelling” or “in the provision of

        services or facilities in connection with such dwelling” because of a person’s

        disability. 42 U.S.C. 3604(f)(2). “[D]iscrimination” includes “a refusal to make

        reasonable accommodations in rules, policies, practices, or services, when such

        accommodations may be necessary to afford such [a] person equal opportunity to

        use and enjoy a dwelling.” 42 U.S.C. 3604(f)(3)(B). 4

              The basic elements of a claim for failure to provide a reasonable

        accommodation are well-settled in this Circuit. Plaintiffs bear the burden of

        establishing that the requested accommodation is “(1) reasonable and (2) necessary

        (3) to afford handicapped persons equal opportunity to use and enjoy housing.”




              4
                Although the FHA uses the term “handicap,” this brief uses the preferred
        term “disability.” The two terms have the same legal meaning and may be used
        interchangeably. See Bragdon v. Abbott, 524 U.S. 624, 631 (1998); Austin v. Town
        of Farmington, 826 F.3d 622, 624 n.2 (2d Cir. 2016).

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        Bryant Woods Inn, Inc. v. Howard Cnty., 124 F.3d 597, 603 (4th Cir. 1997)

        (Bryant Woods) (citing 42 U.S.C. 3604(f)(3)).

              First, the requested accommodation must be “reasonable,” which requires a

        highly fact-specific inquiry that involves balancing the needs of the parties. See

        Scoggins v. Lee’s Crossing Homeowners Ass’n, 718 F.3d 262, 272 (4th Cir. 2013);

        see also Oconomowoc Residential Programs, Inc. v. City of Milwaukee, 300 F.3d

        775, 784 (7th Cir. 2002) (Oconomowoc) (the reasonableness inquiry considers

        whether the requested accommodation is “both efficacious and proportional to the

        costs to implement it”). In determining reasonableness, courts may consider “the

        extent to which the accommodation would undermine the legitimate purposes and

        effects of existing” rules and “the benefits that the accommodation would provide”

        individuals with disabilities. Bryant Woods, 124 F.3d at 604. Courts may also

        consider “whether alternatives exist to accomplish the benefits more efficiently.”

        Ibid. This Court has explained that under the FHA, an accommodation is not

        reasonable if it imposes “undue financial and administrative burdens” or “changes,

        adjustments, or modifications to existing programs that would be substantial, or

        that would constitute fundamental alterations in the nature of the program.” Ibid.

        (quoting Southeastern Cmty. Coll. v. Davis, 442 U.S. 397, 412 (1979); Alexander

        v. Choate, 469 U.S. 287, 301 n.20 (1985)).




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              Second, the accommodation must be “necessary,” which means that without

        the accommodation, the individual with a disability will likely be denied an equal

        opportunity to enjoy their housing of choice. See Anderson v. City of Blue Ash,

        798 F.3d 338, 361 (6th Cir. 2015); Giebeler v. M & B Assocs., 343 F.3d 1143,

        1155 (9th Cir. 2003). As this Court has put it, to meet this requirement, plaintiffs

        must show a “direct linkage” between the requested accommodation and the equal

        opportunity to enjoy housing. Bryant Woods, 124 F.3d at 604. If the requested

        accommodation “provides no direct amelioration of a disability’s effect, it cannot

        be ‘necessary.’” Ibid. (citation omitted); see also Bhogaita v. Altamonte Heights

        Condo. Ass’n, 765 F.3d 1277, 1288 (11th Cir. 2014) (“[A] ‘necessary’

        accommodation is one that alleviates the effects of a disability.” (citation omitted)).

        Plaintiffs may prove that an accommodation is necessary based on financial

        viability as well as therapeutic benefits. See Giebeler, 343 F.3d at 1155

        (burdensome financial policies can interfere with the right of an individual with

        disability to the “use and enjoyment of their dwelling, thus necessitating

        accommodation”); Smith & Lee Assocs. v. City of Taylor, 102 F.3d 781, 795-796

        (6th Cir. 1996) (the “economic viability” of operating a group home is relevant in

        determining whether an accommodation is necessary).




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              B.     The district court erred in evaluating GIC’s conditions on
                     plaintiffs’ requested accommodation under the “necessity” prong
                     of the FHA’s reasonable-accommodation analysis.

              The district court fundamentally erred by evaluating GIC’s conditions under

        the “necessity” prong of the reasonable-accommodation analysis instead of under

        the “reasonableness” prong. Doc. 110, at 15-16.

              1. The district court never actually considered, as this Court requires,

        whether plaintiffs’ actual “proposed accommodation”—an exception to the

        business-purpose restriction—was “necessary” to provide prospective residents

        with disabilities an equal opportunity to use and enjoy their housing of choice. See

        Bryant Woods, 124 F.3d at 603-604. Some individuals with disabilities cannot live

        in residential settings without access to disability-related services and supports.

        Consequently, group homes typically satisfy the necessity element by providing

        those supports and services that enable persons with disabilities to live in

        residential communities alongside, and on similar terms as, persons without

        disabilities. See, e.g., Oconomowoc, 300 F.3d at 787. If the district court had

        conducted the required analysis, it might well have concluded that the requested

        accommodation is necessary for the group home’s prospective residents to enjoy

        their housing. Without GIC’s approval of such an exception, plaintiffs would not

        be able to operate the home.




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              The district court’s focus instead on whether removal of GIC’s disputed

        conditions was necessary to allow residents with disabilities to enjoy their housing

        of choice turned the legal standard on its head. Effectively, the court found that an

        accommodation (an exception to the business-purpose restriction) that has a “direct

        linkage” to ensuring equal opportunity of housing for individuals with disabilities,

        see Bryant Woods, 124 F.3d at 604, was not “necessary” because GIC insisted on

        imposing conditions that, as the court found, did not even purport to address the

        effects of those individuals’ disabilities. Doc. 110, at 17-23.

              In so reasoning, the district court misunderstood case law involving

        alternative accommodations proposed by housing providers as another means of

        addressing the effects of a disability. See Doc. 110, at 23 (stating that “necessity

        must be considered in light of ‘proposed alternatives’” and that “[m]erely being

        preferable to an alternative is not sufficient; it must be essential” (quoting

        Harmony Haus Westlake, LLC v. Parkstone Prop. Owners Ass’n, 851 F. App’x

        461, 465 (5th Cir. 2021))). The court cited Vorchheimer v. Philadelphian Owners

        Ass’n, 903 F.3d 100 (3d Cir. 2018), as an example of where a plaintiff’s requested

        accommodation was not “necessary” in light of alternative accommodations

        offered by the defendant. Doc. 110, at 21, 23. Vorchheimer involved a plaintiff

        who needed ready access to her walker when she returned from outings and

        requested, as an accommodation, that the defendant condominium association

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        allow her to leave her walker in the building’s lobby. 903 F.3d at 112. In

        response, the defendant offered several alternative accommodations, such as

        having a staff member bring her walker to her car or having the doorman bring and

        load her walker in her car. Ibid. The Third Circuit held that the plaintiff failed to

        plead that her requested accommodation was “necessary” given the alternatives

        offered by the defendant, because those alternatives satisfied plaintiff’s need to

        have access to her walker and minimize her “periods of unsupported standing.”

        Ibid. (citation omitted).

              Unlike in Vorchheimer, GIC’s disputed conditions are not alternatives that

        offer another equally effective means of addressing the effects of prospective

        residents’ disabilities. As the district court recognized, none of the contested

        conditions imposed by GIC relates to meeting plaintiffs’ need for an exception to

        the business-purpose restriction. Doc. 110, at 18-22. That disconnect led the court

        wrongly to conclude that plaintiffs failed to show the necessity of removing the

        conditions; instead, it should have led the court to realize that GIC’s conditions

        were relevant to whether plaintiffs’ requested accommodation was reasonable.

        See Bryant Woods, 124 F.3d at 604 (in determining whether the reasonableness

        requirement has been met, courts may “consider whether alternatives exist to

        accomplish the benefits more efficiently”).




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              2. Although this Court has held that plaintiffs bear the burden of proving

        that the requested accommodation is both reasonable and necessary, Bryant

        Woods, 124 F.3d at 603-604, the Court has not squarely addressed the legal

        framework for assessing undue burden as part of the FHA’s reasonableness prong.

        In Bryant Woods itself, the plaintiff group home had failed to appeal a zoning

        board’s decision on its request to expand its facility and thus was bound by the

        board’s findings relating to reasonableness. Id. at 604-605; see also Scoggins, 718

        F.3d at 273-275 (noting that “defendants produced overwhelming evidence” that

        an ATV’s use within a housing community presented a significant safety threat and

        that plaintiffs failed to “refute[]” such evidence to establish that their proposed

        accommodation was “reasonable”).

              The courts of appeals are split on who bears the burden of persuasion under

        the FHA as to whether a requested accommodation is reasonable.5 But there is

        broad agreement, and rightly so, that once a plaintiff makes a prima facie showing



              5
                 Compare, e.g., Oconomowoc, 300 F.3d at 783-784, 787 (following a
        sufficient initial showing of reasonableness by plaintiff, defendant has the burden
        “to prove either that the accommodation was unreasonable or that it created an
        undue hardship”), and Hovsons, Inc. v. Township of Brick, 89 F.3d 1096, 1103 (3d
        Cir. 1996) (defendant has the burden to show that plaintiff’s requested
        accommodation was unreasonable), with Hollis v. Chestnut Bend Homeowners
        Ass’n, 760 F.3d 531, 541 (6th Cir. 2014) (plaintiff has the burden to prove an
        accommodation is reasonable), Bryant Woods, 124 F.3d at 603 (same), and
        Elderhaven, Inc. v. City of Lubbock, 98 F.3d 175, 178 (5th Cir. 1996) (same).

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        that a requested accommodation is reasonable, the burden of production, at the

        very least, shifts to the defendant to show that the request is unreasonable because,

        for example, it imposes an undue burden or would result in a fundamental

        alteration in its operations.

              The Third Circuit, for example, has held that the defendant has the burden to

        prove that an accommodation proposed by plaintiff is unreasonable because it

        would impose “undue financial and administrative burdens, or otherwise result[] in

        the imposition of an undue hardship,” or would require “a fundamental alteration

        in the nature of the program.” See Hovsons, 89 F.3d at 1104-1105 (citation

        omitted); see also Lapid-Laurel, L.L.C. v. Zoning Bd. of Adjustment of the Twp. of

        Scotch Plains, 284 F.3d 442, 456-459 (3d Cir. 2002) (defendant municipality “is in

        the best position to provide evidence concerning what is reasonable or

        unreasonable within the context of its zoning scheme”). The Seventh Circuit also

        has held that the “burden is on the plaintiffs to show that the accommodation it

        seeks is reasonable on its face,” and “[o]nce the plaintiffs have made this prima

        facie showing, the defendant must come forward to demonstrate unreasonableness

        or undue hardship in the particular circumstances.” See Oconomowoc, 300 F.3d at

        783. Likewise, the Eleventh Circuit has held that once the plaintiff has shown that

        the requested accommodation is facially reasonable, the defendant has the burden

        to “prove that the accommodation would nonetheless impose an ‘undue burden’ or

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        result in a ‘fundamental alteration’ of its program.” See Schaw v. Habitat for

        Humanity of Citrus Cnty., Inc., 938 F.3d 1259, 1265-1266 (11th Cir. 2019)

        (citation omitted).

              Similarly, the Sixth Circuit, while expressly refusing to place the “ultimate

        burden of persuasion” on the defendant “to show undue hardship once the plaintiff

        makes a prima facie showing of necessity and reasonableness,” nonetheless

        effectively places the burden of production on the defendant at summary judgment

        to demonstrate that it is entitled to judgment as a matter of law. See Hollis v.

        Chestnut Bend Homeowners Ass’n, 760 F.3d 531, 542-543 (6th Cir. 2014).

              The Seventh and Eleventh Circuit decisions in Oconomowoc and Schaw are

        particularly instructive for determining the allocation of burdens here,

        notwithstanding that, in this Circuit, plaintiffs have the overall burden to show that

        their proposed accommodation is reasonable. Both cases relied on the Supreme

        Court’s decision in US Airways, Inc. v. Barnett, 535 U.S. 391, 401-402 (2002), to

        require the defendant to provide evidence in support of its assertion of undue

        burden. See Schaw, 938 F.3d at 1265, 1269; Oconomowoc, 300 F.3d at 783. In

        Barnett, which involved a reasonable-accommodation claim in the employment

        context under Title I of the Americans with Disabilities Act (ADA), 42 U.S.C.

        12112(b)(5)(A), the Supreme Court made clear that when it comes to reasonable

        accommodation of a disability, the plaintiff has the burden of showing that a

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        requested accommodation “seems reasonable on its face, i.e., ordinarily or in the

        run of cases.” 535 U.S. at 395-396, 401. Once the plaintiff has made this

        showing, the burden shifts to the defendant to show “special (typically case-

        specific) circumstances that demonstrate undue hardship in the particular

        circumstances.” Id. at 402.

              Despite differences between the ADA and the FHA—e.g., Title I of the

        ADA explicitly places the burden on the defendant to demonstrate an undue

        hardship defense, see 42 U.S.C. 12112(b)(5)(A), while the FHA is silent on this

        point—Barnett’s legal framework is helpful in providing by analogy workable

        guidance as to how courts should assign the burdens of production and persuasion

        under the FHA. Indeed, while the FHA does not provide for an undue burden

        defense, courts generally consider, as part of their reasonableness analysis, whether

        a requested accommodation imposes financial and administrative burdens or costs

        on the defendant or fundamentally alters the defendant’s program. See Bryant

        Woods, 124 F.3d at 604 (courts may consider the accommodation’s “functional and

        administrative aspects, but also . . . its costs” in determining whether it is

        reasonable); see also Valencia v. City of Springfield, 883 F.3d 959, 970 (7th Cir.

        2018) (plaintiffs’ requested accommodation was reasonable where “the financial

        and administrative burden on the [defendant] [was] negligible”); Schwarz v. City of

        Treasure Island, 544 F.3d 1201, 1223-1225 (11th Cir. 2008) (requested

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        accommodation to allow four halfway houses to operate was reasonable after

        taking into account defendant’s views regarding “what [was] essential to its zoning

        districts”); Giebeler, 343 F.3d at 1158 (request by a prospective tenant with a

        disability to waive defendants’ no co-signer policy was reasonable even though

        defendants had “identified some administrative burdens and expenses that could

        result” from having to seek rent payment from a co-signer where defendant had

        previously waived this policy).

              Because the financial and administrative burdens that a requested

        accommodation would impose on the defendant are relevant to determining

        whether the accommodation is reasonable, it makes sense to require plaintiffs in

        FHA cases first to make a prima facie showing of reasonableness but then to shift

        the burden of production to the defendant to come forward with evidence to show

        the request is unreasonable—because, for example, it would impose an undue

        burden. See, e.g., Schaw, 938 F.3d at 1266, 1269; Oconomowoc, 300 F.3d at 783-

        784. In practice, once a plaintiff has met its burden to show that the requested

        accommodation is reasonable on its face and the defendant comes forward with

        evidence to demonstrate unreasonableness or an alleged undue financial and

        administrative burden in the particular circumstances, the district court can balance

        the benefits of the accommodation against the burden on the defendant. See

        Scoggins, 718 F.3d at 272; see also Summers v. City of Fitchburg, 940 F.3d 133,

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        139 (1st Cir. 2010); Schaw, 938 F.3d at 1265-1267; City of Springfield, 883 F.3d at

        968-970; Anderson, 798 F.3d at 362-363; Hollis, 760 F.3d at 542.

              C.    On remand, the district court should consider whether plaintiffs’
                    requested accommodation is reasonable.

              On remand, the district court should first consider, as explained above,

        whether plaintiffs’ requested accommodation (waiver of the business-purpose

        restriction) was facially reasonable. If yes, then GIC should be required to produce

        evidence to support its claim that the requested accommodation was unreasonable

        insofar as it would have imposed an undue financial and administrative burden “in

        the particular circumstances,” Barnett, 435 U.S. at 402, and thus that GIC required

        each condition to alleviate that burden and render the accommodation reasonable.

        Bryant Woods, 124 F.3d at 604; see Doc. 71-68, at 3 (stating that an

        accommodation agreement without GIC’s conditions “would impose undue and

        unacceptable administrative and financial burdens” on GIC); Doc. 71-70, at 3

        (same); Doc. 71-73, at 3 (same).6




              6
                  Importantly, GIC must support any purported undue financial and
        administrative burden with objective evidence—not stereotypes or mere
        speculative harm. See, e.g., Corey v. Secretary, U.S. Dep’t of Hous. & Urban Dev.
        ex. rel. Walker, 719 F.3d 322, 328 (4th Cir. 2013) (housing provider “cannot
        justify the other discriminatory conditions he sought to impose, based as they were
        on unsubstantiated stereotypes about autistic people in general”).

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              The situation here is similar to that in Schaw, where the defendant had

        placed a “condition” on the plaintiff’s requested accommodation. 938 F.3d at

        1263-1264. The Eleventh Circuit vacated summary judgment for the defendant,

        explaining that the district court erred by not determining first whether plaintiff’s

        own request was reasonable “before turning to consider a defendant’s objections

        and counterproposals,” and remanded for the district court to consider whether the

        requested accommodation constituted an undue burden or fundamental alteration.

        Id. at 1269, 1274-1275.

              The district court’s failure to conduct this analysis here is highly

        problematic. Under the logic of the court’s decision, any housing provider would

        be free to impose nearly any condition, cost, or other burden as the price of

        granting a reasonable accommodation, because removing such a condition often

        will not be “necessary” or “essential” to allowing an individual with disabilities to

        occupy housing. This case provides a good illustration of why the court’s

        approach was wrong. Although a group home can voluntarily agree to the

        conditions contested here, several of the conditions seemingly would impose a

        major burden on plaintiffs without necessarily outright preventing them from

        operating the home. See, e.g., Doc. 71-68, at 5-6 ¶¶ 7, 9 (Septic Provisions

        requiring plaintiffs to submit to GIC an annual septic certification prepared by an




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        environmental engineering firm and install a meter that creates daily monitoring

        reports measuring the effluent level flowing to the septic tank).

              Accordingly, if the district court concludes that plaintiffs’ requested

        accommodation would impose undue administrative and financial burdens on GIC,

        the court should determine if GIC’s conditions, or alternatives, themselves are

        reasonable and would afford equal housing opportunity. Vorchheimer, 903 F.3d at

        109; see, e.g., Jankowski Lee & Assocs. v. Cisneros, 91 F.3d 891, 896-897 (7th Cir.

        1996) (affirming HUD’s finding that housing provider’s alternative

        accommodation was not reasonable); Utah Labor Comm’n v. Paradise Town, 660

        F. Supp. 2d 1256, 1259, 1263 (D. Utah 2009) (denying summary judgment due to

        disputed facts regarding the reasonableness of defendant’s proposed alternatives).

              For instance, certain of GIC’s conditions would require plaintiffs to forgo

        rights and protections available under the FHA. Specifically, the mandatory

        arbitration requirement in the MOU would force plaintiffs to abandon their rights

        to a judicial forum under the FHA as a condition for receiving a reasonable

        accommodation. See 42 U.S.C. 3613(a); Doc. 71-68, at 8. Similarly, the

        arbitration provision would give GIC the right to seek attorneys’ fees against

        plaintiffs, which the FHA does not allow except for frivolous claims. Doc. 71-68,

        at 3; see Bryant Woods, 124 F.3d at 606 (citing Christiansburg Garment Co. v.

        EEOC, 434 U.S. 412 (1978)).

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              Furthermore, the arbitration’s escrow provision, which requires each side to

        initially deposit $100,000 in an escrow account before arbitration, in effect

        imposes a fee as the price for obtaining the accommodation. See Doc. 71-68, at 8-

        9. Because the FHA generally requires a reasonable accommodation from

        financial policies that interfere with a person’s equal opportunity to use and enjoy

        their housing of choice, see Giebeler, 343 F.3d at 1155, it follows that the FHA

        bars housing providers from charging fees for reasonable accommodations, even

        though such fees might not directly interfere with the accommodation’s therapeutic

        benefits. See, e.g., Fair Hous. of the Dakotas, Inc. v. Goldmark Prop. Mgmt., Inc.,

        778 F. Supp. 2d 1028, 1039-1040 (D.N.D. 2011) (housing provider cannot charge

        a pet fee for an emotional support animal where that “animal is necessary to ensure

        an equal opportunity to use and enjoy the dwelling and the additional fees have a

        disparate impact”); Hubbard v. Samson Mgmt. Corp., 994 F. Supp. 187, 193

        (S.D.N.Y. 1998) (landlord’s proposal to designate a parking space near plaintiff’s

        apartment for a monthly fee did not constitute a reasonable accommodation).

              Indeed, a Joint Statement of HUD and the Department of Justice makes clear

        that defendants cannot impose additional fees as a condition for granting a

        reasonable accommodation under the FHA. See Joint Statement of the Department

        of Housing and Urban Development and the Department of Justice, Reasonable

        Accommodations Under The Fair Housing Act (May 14, 2004),

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        https://www.hud.gov/sites/documents/huddojstatement.pdf. As the Ninth Circuit

        explained, “fees that merit closer scrutiny” include “those with unequal impact” on

        individuals with disabilities, “imposed in return for permission to engage in

        conduct” that housing providers are required to permit under the FHA. United

        States v. California Mobile Home Park Mgmt. Co., 29 F.3d 1413, 1417 (9th Cir.

        1994).

        II.   The district court erred in concluding that GIC did not refuse plaintiffs’
              accommodation request.

              The district court also was wrong in ruling that GIC did not refuse or

        constructively deny plaintiffs’ requested accommodation. A refusal of a request

        for a reasonable accommodation “need not be explicit, but rather may be treated as

        a ‘constructive’ denial based on the decision maker’s conduct.” Scoggins v. Lee’s

        Crossing Homeowners Ass’n, 718 F.3d 262, 271-272 (4th Cir. 2013) (citation

        omitted).

              Remarkably, the district court held that GIC’s inclusion of take-it-or-leave-it

        conditions in the MOU that were not acceptable to plaintiffs did not constitute a

        “refusal” of the requested accommodation. Doc. 110, at 18. And the court

        likewise found “no evidence” to show a “constructive denial” of the request

        because plaintiffs did not claim that GIC’s conditions “prevent them from

        operating the Banbury Property” or “present an insurmountable burden.” Id. at 23

        n.5 (citation omitted).
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              Again, the district court erred by improperly focusing on whether the

        conditions would have prevented plaintiffs from operating the group home. Doc.

        110, at 23 n.5. This Court has stated that courts should examine the defendant’s

        conduct to determine if there was an explicit or constructive denial of an

        accommodation request. See Scoggins, 718 F.3d at 271-272. Just “as an

        indeterminate delay has the same effect as an outright denial,” Groome Resources,

        Ltd. v. Parish of Jefferson, 234 F.3d 192, 199 (5th Cir. 2006), GIC’s demand that

        plaintiffs accept the conditions in the MOU in order to obtain their requested

        accommodation, followed by termination of further negotiations after plaintiffs

        refused to sign the MOU, had the same effect as an outright denial of plaintiffs’

        accommodation request. It matters not that GIC did not initially refuse plaintiffs’

        request but was willing to approve the request so long as plaintiffs agreed to GIC’s

        conditions. See Astralis Condo. Ass’n v. HUD, 620 F.3d 62, 69 (1st Cir. 2010)

        (rejecting condominium association’s argument that it was not liable for a denial of

        a reasonable accommodation because “it never expressly refused to accommodate

        the complainants”).

              In short, GIC’s position was that it was willing to approve plaintiffs’

        accommodation “only after” plaintiffs agreed to the MOU “without alteration.”

        Doc. 71-70, at 3. GIC was unwilling to approve the accommodation otherwise.

        See ibid.; Doc. 71-73 (resolution abandoning further negotiations). Plaintiffs

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        refused to sign the MOU, and GIC refused to approve plaintiffs’ accommodation

        request.

                                          CONCLUSION

              For the foregoing reasons, this Court should reverse the district court’s grant

        of summary judgment to GIC and remand for further proceedings.

                                                        Respectfully submitted,

        DAMON Y. SMITH                                  KRISTEN CLARKE
         General Counsel                                 Assistant Attorney General

        SASHA M. SAMBERG-CHAMPION                       s/ Teresa Kwong
         Deputy General Counsel for                     BONNIE I. ROBIN-VERGEER
         Enforcement and Fair Housing                   TERESA KWONG
                                                          Attorneys
        JOSHUA R. GILLERMAN                               U.S. Department of Justice
        OGO O. ORIZU                                      Civil Rights Division
         Attorneys                                        Appellate Section
         U.S. Department of Housing                       Ben Franklin Station
         and Urban Development                            P.O. Box 14403
         Office of the General Counsel                    Washington, D.C. 20044-4403
                                                          (202) 514-4757




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                             CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limit of Federal Rules of Appellate

        Procedure 29(a)(5) and 32(a)(7)(B)(i) because it contains 6500 words, excluding

        the parts of the brief exempted by Federal Rule of Appellate Procedure 32(f). This

        brief also complies with the typeface and type-style requirements of Federal Rule

        of Appellate Procedure 32(a)(5) and (6) because it was prepared in Times New

        Roman 14-point font using Microsoft Word for Microsoft 365.

                                                     s/ Teresa Kwong
                                                     TERESA KWONG
                                                      Attorney

        Date: March 26, 2024
